Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 1 of 21 PageID# 19332




                ATTACHMENT I
Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 2 of 21 PageID# 19333




            EXHIBIT 
    Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 3 of 21 PageID# 19334


    From:                                    (/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                      (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=7FBBD87E41E749058602C034352C4573-H653]
    Sent:             6/14/2022 6;28:41 PM
    To:
    CC:                                           [/o=Exchangelabs/ou=Exchange Administrative Group
                      (FYDI BOH F23SPDLT)/cn=Recipients/cn =edbd7345163248a28c3add5f875f46a6-A319];
                      [/o=Exchangelabs/ou=Exchange Administrative Group
                      (FYDI BOHF 23SPDLT)/cn=Recipients/cn=a0aefe6eb2 754 7cla50bdc8a5cbecct5-ERNG);
                                    [/o=Exchangelabs/ou=Exchange Administrative Group
                      (FYDIBOHF23SPDLT)/cn=Recipients/cn=06301ac754d9406f8b824004dc2907d9-R28V); Hoffman, Debra A.
                      (CMS/OAGM) [/o=Exchangelabs/ou=Exchange Administrative Group
                      {FYDI BOHF23SPDLT)/cn=Recipients/cn =e56dd9a5aead445a90f2860f243558b8-H 115];



    Subject:          LRFP 220606 Health Insurance Exchange Public Education and Outreach - Award
    Attachments: 75FCMC18D0046_75FCMC22F0003(executed 06-14-2022).pdf; 75FCMC18D0046_75FCMC22F0003 Attachment 3 -
                      Contractor Conflict of lnterest.docx; 75FCMC1800046_75FCMC22F0003 Attachment 1- Task Order Doc.pdf;
                      75FCMC1800046_7SFCMC22F0003 Attachment 2 - SOW.pdf




    Congratulations on the award ofTask Order 75FCMC22F0003 Health Insurance Exchange Public Education and Outreach
    under IDIQ 7SFCMC18D0046. Funds in the amount of                     are provided to perform work under in the
    attached SOW Base Task and are allocated on a Time and Materials basis with a POP of 06/14/2022-06/13/2023.

    Seth Edlavltch will be the COR and Debra Hoffman will be the CO on this task order, our contact information is included
    in Attachment 1.

    Please confirm receipt of this email and attachments.

    Thank you,

    Contract Specialist
    Division of Beneficiary S upport Contracts
    Office of Acquisition and Grants Management. (OAGI\i)
    Centers for Medic are and Medicaid Ser v ices (CMS)
    7500 Secu1·ity Boulewwcl
    Ilaltimore, MD 2124-i




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          Case 1:23-cv-00108-LMB-JFA
                              ORDER FORDocument   805-10
                                                    SERVICESFiled 06/14/24 Page 4 of 21 PageID#
                                                                                          I PAGE 0119335
                                        SUPPLIES OR
IMPORTANT: Mark all packages and papers w ith contract and/or order numbers.
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1. Dl>,TE OF D RDER          2. CONTRACT NO
                             75FCMC18DO 4
                                              gr arj                                                                                              6.SHIP TO,

                                                                                                     a NAME OF CONSIGNEE
  06/14/2022
3 . 0RDER NO.                                              4 REQUISITION/REFERENCE NO
                                                                                                    No;: Applicable
75FCMC22F0003                                              OC-393-2022-0063
                                                       1


S, ISSUING OFFICE /Address correspondence lo)                                                        b. STREET ADDRESS
CMS , OAGM, AGG, DBSC
7500 SECURITY BLVD., MS ; 33-30 - 03
3AL~I MORE MD 21244-1 850

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7. TO:                                                                                              f.SHIPVJA
a. NAME OF CONTRACTOR
                                                                                                                                          8 TYPE OF ORDER
b. COMPANY NAME
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o. STREET ADDRESS                                                                                    REFERENCE YOUR
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                                                                                                                                                               reverse, this delivery order Is
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                                                                                                     and condllions sper.ified on both sides or                cond~ions or the above-numbered
d.CITY                                                           e STATE    If. ZIP CODE             ltlis orde, and on the attached sheet, of                 contract

                                                                I                                    anv. including dellverv as lndlcated

9. ACCOUNTING AND APPROPRIATION DAiA                                                                10. REQUISITIONING OFFICE
P-203-22-00~874 - 004                                                                               Si:rai:.egic Marketing Group
11 _BUSINESS CLASSIFICATION (Check appropn·a1e box(es)/                                                                                                           12. F.O.B. POINT
 _j a. SMALL            ~ b. OTHER THAN SMALL               lJ c. DISADVANTAGED             d, WOMEN-OWNED              O e. HUBZone
 =:) 1. SERVICE-DISABLED          L g. WOMEN-OWNED SMAU. BUSINESS (WOSB)                   : -. h , EOWOS8
          VETERAN-OWNED              ELIGIBLE UNDER THE WOSB PROGRAM

                              13. PLACE OF                                 14. {;OVERNMENT 8/LNO.                      15. DELIVER TO F.O.B. POINT                  t6. DISCOUNT TERMS
                                                                                                                         ON OR 8ffORE (Date)
a. INSPECTION                         b. ACCEPTANCE
Dest.inat.ion                       lDest.inat.i on                             17. SCHEDULE {See reverse for Rejections)

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ITEM NO.                                 SUPPLIES OR SERVICES                                      ORDERED UNIT                PRICE                     AMOUNT                          ACCEPTED
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                Ta)! ID Number :
                I.JEI :             .
                Pursuant. ::.o the Terms and Condi-:.ions of
                cont.ract. 75FCMC! 8D004 6 , a:oe cont.racr.or
                snall provide " Healt.h Insurance Excnange
                Public Education and Out.reach" in
                Con:.inued ...

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                 a. NAME
                                                 DHHS, CMS, OFM
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INSTRUCTIONS      Ji. SlREE.T ADDRESS            hc.:.p: //www . ipp.gov/
 ON REVERSE       (or P. O. Box)                                                                                                                                                                 17(1)
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                  c. CI IY                                                                             I     STATE      e. l lPCOUt
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  22, UNITED STATES OF                                                                                                 23. NAME (Typed)
                                                Heather M.                        Digi tally sig ned by Heather M .
                                                                                                                           HEATHER ROBERTSON
                                             ►Robertson -S
         AMERICA BY (Signature)                                                   Robertson-5
                                                                                  Date; 2022.06.14 10:53:03 -04'00'     TITLE: CONTRACTING/ORDERING OFFICER

AU1HORIZEO FOR LOCAL REPRODUCTION                                                                                                                                  OPTION.Al FORM 347 (~" mc,21
 PR~\/IOUS E.DITION NOT USABLE                                                                                                                                       Presahd ~ G~A\R 48 CFR !13.?-13tfl




Highly Confidential                                                                                                                                               CMS-ADS-0000018747
                                          ORDER FOR SUPPLIES OR SERVICES                                                PAGE NO

          Case 1:23-cv-00108-LMB-JFA  Document
                               SCHEDULE          805-10 Filed 06/14/24 Page 5 of 212 PageID# 19336
                                        - CONTINUATION
IMPORTANT· Mark all packaaes and papers W!lh contractancl/ororder number5.
DATE OF ORDER      ' CONTRACT NO.                                                                    ORDERNO.
                    75FCMC18D004c6
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                                                                                                     75FC'.11C22F0003
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    (a)                                        (b)                             (C)    (d)      (e)                (f)                              (g)

             accordance with che attached Statement of
             Wo r k (SOW) . Funds in the amoun t of
                                are provided to perform
             work under tne Base Ye.,.r Base :'ask (~ask 1
             and Task 2) in the attached sow and are
             allocated on a Time and ~aterials basis.

              ?lease see the following atcachments :
              Attachment: - Task Order Award Document
              wit::i Not to Exceed Total
              Attachment 2 - Statement of Work wich
              Schedule of Deliverables
              Attachment 3 - Contractor Conflict of
              Interest
              Req Identifier : ? CAN Number : S991265
              Appropriation : 75-X-05::.1 Object Class :
              25235 Component ID : 203 Fiscal Year: 22
              ?reject# : 00::.874 Sequence# : 004
              Period of Performance:


ooo:          Base Year                                                                                                   0 . 00
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000:.AA      3as@ Year Base Task

              Product/Service Code :                   R426


ooo:AB       3ase Year Optional Tas ~ _                                                                                 option
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                                           ORDER FOR SUPPLIES OR SERVICES                                                     PAGE NO
       Case 1:23-cv-00108-LMB-JFA  Document
                            SCHEDULE          805-10 Filed 06/14/24 Page 6 of 213 PageID# 19337
                                     • CONTINUATION
IMPORTANT· Mark all packaqes and paper,; W!lh contrac1 and/or order numbei5.
DATE OF ORDER      !CONTRACT NO.                                                                       ORDERNO.
                    75FCMC18D0046
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0002A.O       Ope.ion Year: Optional Tas~ 3
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0002AE        Ope.ion Year : Optional Task 4                                                                                  Opt i on
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0003          Option Yea r 2                                                                                                  Option
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           Case 1:23-cv-00108-LMB-JFA  Document
                                SCHEDULE          805-10 Filed 06/14/24 Page 7 of 214 PageID# 19338
                                         • CONTINUATION
IMPORTANT· Mark-all packaQes and papers W!lh contrac1 ancl/or order numbei5.
DATE OF ORDER       CONTRACT NO.                                                                       ORDERNO.


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Highly Confidential                                                                                                            CMS-ADS-0000018750
     Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 8 of 21 PageID# 19339
                                                    A TT ACHME~T 3
                                       COtsTRACTOR/OFFEROR CO:S-FLICT OF INTEREST

                                                              (OCT 2020)
  (Contractor/Offeror) - In accordance with Solicitation/Contract Section C.3.XV . please include all of the following
  information contained herein (A. through D.) with your proposal submission or during contract performance, as required.
  (NOTE: A response must be provided even ifno con.fuct exists). Because aUoftbe information to be submitted eaa.not be
  contained in this template, a Table of Contents shall be provided with your submission. Use of this actual template is not
  required.

  This template is provided as a sample of the type of information CMS requires for adequate analysis. lfthc contractor/offeror
  uses its own template or form, the offeror/contractor should ensure that, at a minimum, tbe information that would bave otherwise
  been captured in tbis template is provided.
  NAM.E OF OFFEROR/CONTRACTOR/S UBCONTRACTOR:                                               DATE SUBMITTED:

  SUBMISSION TYPE:
  L Initial Submission for Offerors (Solicitation)       D Revised Submission for Contractors (Post-award)
  SOLICIT ATTON #:                                                             CONTRACT#:


 ~- DESCRIPTION OF CORPORATE AND ORGA~JZAT1O1'AL STRUCTURE:
      Cootractors/Offerors shall provide:

       1.   Iligh level organizational charts that show the complete corporate organizational structure of the Contractor/Offoror, to
            include parent and affiliated (as defined in FAR 2.101) organizations, as applicable;
       2.   Internal organization chart of the entity performing the work: and,
       3.   Narrative explanation of structure/ownership.

 a. DESCRIPTION OF ALL ACTt;AL, POTE~TIAL, A1'-0/OR APPARENT COis AND FJNA~CIAL
      l~1ERESTS/RELA TIONSHIPS:

      Contractors/Offerors shall provide the following:

      1.    COJ OVERSIGHT PROCESS: Describe the COi oversight process including, but not limited to, how the contractor
            identifies and resolves organizational and personal COis (See Section C.3.XV ) .
      2.    DISCLOSURE OF CONTRACTS THAT COULD POSE AN ACTUAL, POTENTIAL, AND/OR APPARENT
            COi: Disclose all cw-rent/active and known future 11011:foreign contracts tbat give rise to an actual, potential, and/or
            apparent COI, for itself, its parent(s) and affiliate(s) (as defined in FAR 2.101), including potential subcontracts. Please
            copy all lines below the heade,· fo,· each listed contract using the table below:

    Prime Contractor or        Name of Customer          Contract#           Period of           Total      *COI        '""Type of COl
    Subcontractor other        with which you are                           Performance         Contract    Actual,     UA, BG and/or
       Relationship?             under contract                                                  Value     Potential          IO
                                                                                                              or          (See below)
                                                                                                           Apparent


    Description of Supplies/Services:
    Explanation: ProYide explaination as to why the contract is or is not a conflict nod provide mitigation (see #4 below) as applicable

      * State whether any disclosed COT is:
         • Actual,
         • Potential, and/or
         • Apparent COI
      ** State whether the Actual, Potential or Apparent conflict is :
          • UA - Unequal Access,
          • BG - Biased Ground Rules, or
          • IO - Impaired Objectivity.
       Page I l




Highly Confidential                                                                                                        CMS-ADS-0000018751
     Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 9 of 21 PageID# 19340
           (See Solic itation/Coutract Section I.M for definitiou of COl aud explanation of UA, BG, 10)

      3.     FINANCIAL ~TERESTS/RELA TIO'.'ISH IPS: As defined in Sectioo C.3.XV ., any o rganizational Financial
             Interests/Relationships that cause an actual, potential, and/or apparent UA , BG and/or TO conflict of interest shall be
             disclosed in sufficient detail for the Government's independent analysis using tbe table below.

       Name of entity with which you have a Financial                        *COI                         "'"' Type of COi
                   Interest / Relationship                            Actual, Potential or               UA, BG and/or IO
                                                                          A(>()arcnt

    Description of Financial Interest or RelationshiJ):
    Explanation: Provide explaination as to why the rclationshi11 is or is not a conflict and provide mitigation (sec #4
    below) as am11icablc.

      * State wbether a ny disclosed COI is:
             •   Actual,
             •   Potential. and/or
             •   Apparent COI

      ** State whether the Actual, Potential or Apparent conflict is:
          • UA - Unequal Access.
          •    BG - Biased Ground Rules, or
          • TO - Impaired Objectivity.

           (See Solic itation/Contract Sect.ion T.M for definition ofCOl and explanation of UA, BG, 10)

      4.     CONFLICT OF INTEREST MITIGATION (See Solicitation/Contract Section C.3.A'V .l.b for definition of
             "Mitigation''): For each actual, potential, and/or apparent UA, BG and/o r TO conflicts of interest identified in B.2. or
             B .3. above, provide a proposed mitigation plaa for Contracting Officer consideration. The mitigation plan shall include
             the following, at a minimum:

                 a,   Description of the COi including whether it is actual, potential or apparent:
                 b.   Rationale for identifi cation of one (I) or more of the three (3) types of COis (U A, BG and/o r IO) ;
                 c.   Mitigation strategy for COi:
                 d.   Time frames for resolving the COT: and
                 c.   Plan for monitoring COis.


 C. PERSO'.\'AL CO'.'iFLICTS OF ~TEREST (PCl)- Ste Soticifation/Contract Sedion C.3.XV.1.b for definiti1m
                                                                                                                                   -
      1.     PCI DISCLOSURES & ASALYSTS: The Contractor/Offcror shall ensure that the organizatio n has analyzed each
             PCl Financial Disclosure to determine: wbetbcr actual, potent ial, and/or apparent PCis exist. InJormatio n should be
             gathered and analyzed for all governing body members (e.g., board of directors, trnstees. etc) and principals of the
             organization as defined by FAR 52.203- LJ and for each manager and key personnel who would be. or are involved with
             the performa01.:e of the contract.

             To assist i □ the identification and analysis. the offcror/contractor should consider the fo llowing, at a minimum, in
             determining if personal conflicts of interest are present. This i11formatio11 shall not he disclosed to the Govem me11t.
                 •    Assets. sources of income, outside positions, etc for sell~ spouse/domestic partner a.nd/or a ny dependent;
                  • Assets and healthcare related income arrangements or agreements to .inc lude healthcare related stock. bond.
                      sector fund, e mployer or business fees, commissions, honoraria, real estate invest ment, for self,
                      spouse/domestic partner and/or any dependent
                  • Liabilities for self, spouse/domestic pa11ner and/or any dependent:
                  • Non-employer healthcare travel-related reimbursements or gifts;

      2. Mitigation Plan: In the event a PCl is identified, disclosure and mitigation shall be provided in B.4 above with the
         removal of individual names.

       Page 12




Highly Confidential                                                                                                      CMS-ADS-0000018752
        Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 10 of 21 PageID#
  . Sl'BCONTRACTORS Pre and Post award):   19341
          The Prime Contractor/Offeror shall be responsible for conducting an analysis. of each of its Subcontractors' COi
          submissions i.n order to ensure that the Subcontractor can perform services conflict-free. The Prime Contractor/Offeror
          shall include each of its Subcontractors' analysis with its proposal. The Prime Co11trnc:tor shall hot submit the
          1111tlerlyi11g Attuchme11t 3 S11bco11tractor disclosures to CMS.

          The Prime Contmctor's/Offcror's analysis of each Subco11tractor's COTsubmission shall include:

          •   Whether the Subcontractor responded to all of the COI submission crite1ia stated herein;
          •   A determination of whether an actual. potential and/or apparent UA, BG and/or IO COI bas been, or must be,
              mitigated;
          •   An analysis of each Subcontractor's mitigation strategy; and,
          •   If a COL must be mitigc1ted, a rccommendatioo to the Contracting Officer of the acceptability oftbc mitigation
              strategy.




      Page I 3




Highly Confidential                                                                                               CMS-ADS-0000018753
        Case 1:23-cv-00108-LMB-JFA Document 805-10 Filed 06/14/24 Page 11 of 21 PageID#
                                           19342
                                                                             75FCMC I 8D0046/75FCMC22F0003
                                                                               Attachment 2 - Statement of Wotk


                                                    Statement of Work

            The Centers for Medicare & Medicaid Services (CMS), Dcpa1tmcnt of Health and Human
            Services, Health Insurance Exchange Public Education and Outreach.

            I.        Scope

                 A. Background

            The Affordable Care Act mu[ Exchanges
            The Affordable Care Act established Affordable Insurance Exchanges (Exchanges) to provide
            individuals with access to health insurance coverage beginning January l , 2014. An Exchange is
            an entity that facilitates the purchase of Qualified Health Plans (QHP) by qualified individuals.
            Exchanges provide competitive marketplaces for individuals to directly compare and purchase
            private health insurance options based on price, quality, and other factors.

            The Affordable Care Act provides States with si gnificant flexibility in the design and operation
            of their Exchanges to best meet the unique needs of their citizens. States can choose to operate
            as a State-based Marketplace (SBM), or the Secretary of the United States Department of Health
            and Human Services (HHS) wi ll establish and operate a Federally-facilitated Marketplace
            (FFM) for any State that does not elect to operate a State-based Marketplace. Jn an FFM, the
            State may pursue a partnership model, where a State may administer and operate certain
            Exchange activities associated with plan management and/or consumer assistance and outreach.
            The partnership model is designed for states that are plam1ing to transition to a SBM in the near
            future.

            If a state is not approved or conditionally approved as a SBM, the law directs the Secretary of
            HHS to facilitate the estab lishment of an Exchange in that state (i.e., a Federally-facilitated
            Marketplace (FFM)). CMS is responsible for facilitating application, eligibility and enrollment
            in private health insurance plans in the FFM states at Healthcare.gov for consumers. ln FFM
            states, CMS is responsible for facilitating appljcation, eligibility and enrollment in private health
            insurance plans at HealthCare.gov for consumers during the Marketplace annual Open
            Enrol lment Period planned for November 1, 2022 through December 15, 2022 (Open
            Enrol lment dates subj ect to change).

            In addition to annual Open Enrollment Period (OEP) outreach, CMS is responsible for
            faci litating application, eligibility and enrollment in private health insurance plans at
            HealthCare.gov during the Marketplace Special Enrollment Period (SEP). A Special Enrollment
            Period begins the day after the conclusion of the annual (OEP). It is a time outside the annual
            Open Enrollment Period (OEP) when individuals can sign up for health insurance. Individuals
            qualify for a Special Enrollment Period (SEP) if they have had certain qualifying life events,
            including loss of health coverage, moving, getting man-ied, having a baby, adopting a child, up
            to 150% of the Federal Poverty Level (FPL), or uninsured. Depending on a consumers Special
            Enrollment Period qualifying event, the consumer may have 60 days before or 60 days
            fo llowing the qualifying event to enroll in a plan.




Highly Confidential                                                                                   CMS-ADS-0000018754
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                                           19343
                                                                            75FCMC I 8D0046/75FCMC22F0003
                                                                              Attachment 2 - Statement of Wotk

            This task order will provide Public Education and Outreach Campaigns across the FFM states
            that have elected to not establish a SBM. CMS is responsible for communicating and
            establishing outreach and education channels for the uninsured as well as those looking to re-
            enroll in plans - motivating them to purchase private insurance plans at Healthcare.gov.
            Task 1 will provide a Public Education and Outreach Campaign to encourage consumers to
            enroll or re-enroll in a health plan during the annual Open Enrollment Period (OEP). Task 2
            will provide a Public Education and Outreach Campaign to encourage eligible consumers to
            enroll or re-enroll in a health plan during a Special Enrollment Period (SEP) outside of the OEP
            for those who qualify. The Contractor shall manage these effo1ts and may be engaged to
            support additional outreach related to the Healthcare.gov Public Education and Outreach
            Campaign or future legislation requiring outreach for health insurance as specified by CMS.

            Target Audiences

            Customers to the FFM arc expected to be a mix of previously uninsured as well as rehtrning customers
            planning to re-apply and re-enroll in health insurance plans. Thus, customers are likely to have a range
            of knowledge about health insurance, how to shop for it and how to compare policies. Healthcare.gov
            is designed to overcome those hurdles, by creating a single location where the uninsured and re-
            enrollees can make a comparison of plans available in their area and find out about their eligibility fo1
            fihaocial assistance.

            The campaigns should reach a multi-cultural audience, including general market, African American
            (AA), English speaking Latinos, and Asian American, Native Hawaiian, Pacific Islanders (AANHPJ)
            in their native languages. The camp<1ign will also expand our reach to populations adversely effected
            by healthcare disparities, such as low-income audiences.

           Task 2 will provide a Public Education and Outreach Campaign ro reach those who are eligible for a
           Special Enrollment Period. A Special Enrollment Period is a time outside the yearly Open Enroll ment
           Period when individuals can sign up for health insurance. Individuals qualify for a Special Enrollment
           Period if they have had certain qualifying life events, including loss of health coverage. moving,
           getting married, having a baby, adopting a child, up to I 50% of the Federal Poverty Level (FPL), or
           uninsured. Depending on a consumers Special Enrollment Period qualifying event, the consumer may
           have 60 days before or 60 days following the qualifying event to enroU in a plan.

              B. Purpose

            The purpose of Task l is to execute a Healthcare.gov Public Education and Outreach Campaign to
            reach those eligible for Marketplace coverage in the FFM states during the Open Enrollment Period.

           The purpose of Task 2 is to execute a Public Education and Outreach Campaign to reach those who
           arc eligible in FFM states for a Special Enrollment Period outside the yearly Open Enrollment Period.

            During the period of perfom1ance, the Contractor shall develop plans around the following key
            perfomrnnce indicators (KPI); building direct response list ( e.g., email capture, short message service
            (sms), auto-dial, etc), performance and cost metrics and enrollment. Task 1 and Task 2 campaigns
            shall include a multi-media effort designed to motivate the target audiences - both the uninsured and
                                                               2




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            re-enrollees - to enroll in a health insurance plan.

           11.        Requirements (Task l and Task 2)
                 A.       Objectives/Tasks to be performed

           The Contractor shall develop and execute integrated Healthcare.gov Public Education and Outreach
           Campaigns to reach the target audiences during the Opeh Enrollment Period and Special Enrollment
           Period through a variety of outreach and education channels, with a major emphasis on paid media
           and digital strategies. Throughout the entire task order, CMS will provide input and approve all stages
           of development and implementation of the campaign and associated de( iverables.

            Task l and Task 2 outreach shall be designed to effectively achieve the KPl 's as defined i.n the Purpose
            section.

           The Contractor shall implement fully integrated, public outreach and education efforts, with a major
           emphasis on paid meclia, including cutting edge digital strategies, to motivate the uninsured, re-
           enrollees to subscribe to the Healthcare.gov direct response listserv (e.g., email capture) and to
           enroll/re-enroll in a health insurance plan. Tactics during Task I and Task 2 shall include a robust
           digital conversion strategy. Paid tactics, shall include, but not be limited to television, search, social,
           video, and display. Digital tactjcs shall run across mobile and desktop platforms. The Contractor
           should consider all tactics that arc appropriate for achieving the KPI's previously defined.

           Post award, CMS may assess any privacy impacts to consumers based oo recommended digital
           channels. CMS will supply a Privacy Questionnaire to be completed by potential Digital Vendors
           tmder the task order. The Contractor shall work with all such Digital Vendors to complete the CMS
           Privacy Questionnaire. The digital strategy shall also include unique and innovative ideas, including
           working with the C MS digital/social media team, to drive current enrollees to HHS' online and social
           media properties, (e.g. vvww.facebook.com/healthcaregov, www.youtube.com/healthcaregov,
           WW\¥. twitter.com/healthcaregov, and other channels as necessary to promote re-enro llment.


           The Contractot shall focus on:
                     • A paid strategy across a variety of channels w hich includes engaging and unique
                        content that will resonate across tbc target audience.
                     • Methods to monitor, track and optimize the digital paid media spend on a day-by-day
                        and weekly basis with ongoing creative testing through both performance (drive-to-site)
                        and persuasion (awareness building) tactics. The methods shall include sophisticated
                        digital analytics, which shall include but not limited to automatic and manual daily
                        optimization, regular creative testing across all digital platforms to determine best
                        performance, and daily spending repo1ts. The Contractor shall work with CMS to set
                        conversion metrics in advance and continually evaluate to improve performance over
                        time. The Contractor shall be prepared to provide both a written digital media
                        performance report a minimum of two (2) times per week and daily written updates on
                        the performance of digital creative assets and work with CMS to optimize the paid
                        digital spend as appropriate. The report shall include performance by platfo1m,
                        performance by partner, and performance by creative. For each type of platform (i.e.,
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                          search, social, display) the report shall include but not limited to spend, impressions,
                          clicks, click through-rate, cost per click, number of acquisitions and cost per
                          acquisition. The data shall be reported by week and cumulatively. The data in the report
                          shall be no more than 48 hours old. For example, if the report is due on Friday, the-data
                          needs to be through Wednesday.
                      •   Working with the CMS digital/social media team to supplement the development
                          of Healthcare.gov content for HHS social media channels as appropriate and other
                          tactics to increase the 1ikclihood ofviewing and sharing of H ealthcare.gov social
                          media content by consumers and stakeholders (e.g., CMS partners, states, non-
                          governmental organizations (NGOs), etc.).
                      •   Tactics to monitor the tone/sentiment of the Healthcare.gov-related dialogue
                          occurring online and methods to guide the conversation as appropriate.

          Over the course of Task 1 and Task 2, and as part of the overall paid media plans, the
          Contractor shall work with search, social, video and display and analytics vendors, as
          appropriate, to deliver paid digital media plans that utilize segmentation, geographic and/or
          other demographic-targeting strategies to further increase the likelihood of reaching the
          uninsured and motivating them to enroll.

          Budget Level
          The Contractor shall develop paid media plans for the overall outreach and public education plan
          for Task I and Task 2 based on the provided budget levels. The paid media plans shall employ a
          variety of media tactics and be scalable. The provided budget levels for Task I and Task 2 shall
          include, as appropriate, labor\ media, other direct costs (ODCs), and travel.

          Creative Deve.lopment
          The Contractor shall develop creative assets ( e.g., television, search, social, video, display) that
          resonate across the target segment and help to support the brand - maki ng Healthcare.gov recognizable
          across multiple possible consumer touch points. The creative shall continue to reinforce that
          Hea/1hcare.gov is the source for uninsured consumers and re-enrollees to explore health insurance
          coverage options that fit their needs, the availability of financial assistance, and the deadlines
          associated with Task 1 (Open Enrollment Period) and Task 2 (Special Enrollment Period).

          In order to resonate with targeted audiences, creative concepts should be a departure from typical
          government communications. Concepts are expected to convey a cutting-edge, forward-thinking tone.
          Campaign concepts/themes shall have the capacity to be placed across multiple mediums. The
          Contractor shall produce a robust amount of digital creative assets to be rotated into the digital
          platfo1ms as the advertising is continuously optimized.

          Research
          The Contractor shall develop an in-depth understanding of the various uninsured consumer audiences
          in order to ftuiher develop and shape messaging and branding. Audience segmentation and message
          testing analyses have been performed by CMS. As such, CMS does !!21.anticipate the need for the
          Contractor to develop an exploratory research agenda, nor to be responsible for the testing of their
          developed creative concepts. The Contractor shall coordinate with CMS' research contractor for the
          testing (e.g., focus groups) of creative concepts/materials as needed.
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          CMS also manages the fielding of a Marketplace tracking survey to monitor campaign awareness,
          beliefs about Healthcare.gov, and the intentions of the uninsured to enroll. Upon request, the
          Contractor shall be prepared to provide the necessary input into the survey' s battery of questions and,
          as appropti.atc, utilize data from the tracking survey to info1in/modify Marketplace campaign strategies
          and tactics so as to increase the likelihood of the uninsured and re-enrollees to enroll.

          Earned Media Su1Jport
          CMS anticipates the Contractor shall provide support for earned media activities (e.g., local and/or
          national media pitching, media tours, developing drop-in articles , etc.) in close coordination with
          CMS' Office of Communications' Media Relations Group as appropriate.

          The Contractor shall provide an earned media strategy for Taskl (Open Enrollment Period) with the
          goal of generating awareness at the launch and subsequent focus on the key deadlines. The Contractor
          shall also provide support for organizing two (2) radio media tours (RMT) and two (2) satellite media
          tour (SMT) during the Open Enrollment Period. The Contractor shall also provide an earned media
          strategy for Task 2 (Special Enrollment Period) with the goal of generating awareness about the Special
          Enrollment Period for those who qualify and key deadlines. The Contractor shall provide support for
          organizing two (2) radio media tours (RMT) and two (2) satellite media tour (SMT) during the Special
          Enrollment Period.

          SMT's will take place virtually or in the HHS studio. As approp1iate. for SM T's ru1d RMT' s, the
          Contractor shall be responsible for pitching, buying satellite time, producing, and providing hair and
          makeup consultation for the spokesperson. The Contractor shall work with CMS to plan the timing of
          the RMT's and SMT's so as to maximize potential media coverage of Healthcare.gov.

          The Contractor shall have the capability to monitor the tone of the national- and state-level coverage of
          Heailhcare.gov and incorporate changes into the campaign plan as appropriate. The Contractor shall
          deliver to CMS, on a weekly basis, Marketplace tracking rcpons that monitor Marketplace-related
          stories (quantity, quality and sentiment/favorability) and associated media impressions.

          Partnerships
          CMS docs not anticipate the Contractor dedicating significant resources to partner recruitment and
          development with non-profit organizations, non-governmental organizations, or corporations during the
          period of performance. CMS will retain primary responsibility for outreach to Federal and State
          pa1tncrs, non-governmental organizations/advocacy groups, and corporations.

          However, should the Contractor have existing or highly prospective relationships with media related
          vendors or partners that are in a position (i.e., b.ave the commitmetit/intcrest level and operational
          capability) to successfully augment paid media Marketplace efforts, those rclationshjps shall further be
          developed on a joint basis between the media vendor/partner, the Contractor, and CMS. lf dtiring the
          course of the negotiations with media vendor/partner, Marketplace partnering opportunities (e.g., value-
          adds with a media vendor/partners, non-paid media partnerships with sister networks, or media
          company foundation initiatives) become available, CMS will work with the Contractor to evaluate each
          opportunity and jointly develop the pa.itncr relationship if deemed appropriate by CMS.

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          Collaboration and Support
          Dtu-ing the period of performance, the Contractor shall be aware that CMS intends to award a separate
          contract/task order to a multicultural marketing and communications Contractor to develop a public
          education and outreach Healthcare.gov campaign targeted to Spanish reliant Latino audiences. The
          Spanish-language Contractor will develop separate creative assets and media plans to motivate Spanish
          reliant Latino audiences to enroll in a health insurance plan at CuidadoDeSalud.gov during the Open
          Enrollment Period (Task 1) and Special Enrollment Period (Task 2). Whik CMS expects minimal
          messaging confusion and spill given the distinct demographics and media channels, the Contractor
          shall coordinate with the Spanish-language Contractor to leverage the Healthcare.gov-related activities
          and experience of each finn, and ensure no duplication of effort.

          In addition, the Contractor sha ll be required to collaborate with other CMS staff, or external groups and
          partners. The Contractor's assistance may also be required to support CMS staff in the preparation of
          ad-hoc tasks such as preparing btiefiog materials for senior CMS officials which could include, but are
          not limited to, details on the Healthcare.gov media buys, creative strategies, or other outreach tactics as
          appropriate.
                B.      Project Deliverables - Task I and Task 2
          CMS requires technical, professional services for the development, implementation, operation. and
          management of Healthcare.gvv Public Education and Outreach Campaigns. The Contractor shall
          provide these services in a tight timeframe with little or no margin of error for missing deadlines:

                I. Kick-Off Meeting: The purpose oftbis meeting is to review project expectations, deliverables
                   and due dates.
               2. Campaign Execution Plan & Timeline: The Contractor shall provide to the Contracting Officer
                  Representative (COR) a Campaign Execution Plan & Timeline which details the Campaign's
                  key deliverables and deadlines during the period of pcrfonnance and include the critical path
                  items, key decision points/dates and dependencies.

                      The campaign plan and timeline shall articulate the actions that the Contractor will take to ensure
                      that CMS is fully engaged in the planning, development, clearance and oversight ofthe campaign
                      for each major media and outreach tactic.

                      Additionally, this plan and timeline shaU ensure efficiency in coordinating Marketp lace-
                      related activities across the Contractor, Subcontractors, the Spanish reliant Latino marketing
                      and communications contractor, and CMS.

               3. Creative Development, Production and Finalized Materials: A CMS-generated Marketplace
                  messaging document shall be provided to the Contractor at the time of award. Suggested edits to
                  the Marketplace messaging document must be approved by CMS before any creative concept
                  development by the Contractor.

                           Task 1 - Open Enrollment Period
                           The Contractor shall provide two (2) distinct digital creative concepts for CMS to
                           consider. The crca6ve concepts shall include television, digital video, display and social.
                           CMS will review and approve all concepts prior to testing. Qual itative testing of any
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                           concepts wiU be d1e responsibility of CMS' research contractor.

                           Task 2 - Special EnroUment Period
                           The Contractor shall provide two (2) distinct digital creative concepts for CMS to
                           consider. The creative concepts shall include television, digital video, display and social.
                           CMS will review and approve all concepts prior to testing. Qualitative testing of any
                           concepts will be the rcsponsibil ity of CMS' research contractor.

                  Production of approved concepts for Task I and/or Task 2 shall occur only after CMS approval.
                  The Contractor shall deliver CMS approved creative executions based on the approved media
                  plan. Throughout the campaign, the Contractor shall produce a robust amount of digital creative
                  assets to be rotated into the digital platforms as the advertising is continuously optimized.

                  The Contractor shall traffic creative executions according to the approved paid
                  advertising/media plans only upon approval from CMS. Upon approval. copies of all final
                  creative materials shall be sent to CMS in accordance with #7 below.

                  Any creative materials that will be posted on a website shall be created within 508 compliance
                  guidelines.

               4. Paid Advertising/Media Buy Plans:
                      The Contractor shall provide the paid advertising/media buy plans for Task I (Open
                      Enrollment Period) and Task 2 (Special Enrollment Period) as referenced in section II.A. The
                      media buy plans for the Marketplace shall provide coverage for the FFM states that have
                      elected not to administer their own state-based marketplace. CMS will review and approve the
                      details of the media buy plans, including the recommended media vehicles/mix for the
                      principal target audiences. The Contractor shall provide the final approved Marketplace media
                      buy plan to CMS. The paid media planning process may include the engagement of social
                      media vendors, vendors of web-based interactive technologies, and vendors of web
                      measurement and customization technologies (Digital Vendors). In order that CMS may assess
                      any privacy impacts to consumers, CMS will supply a Privacy Questionnaire to be completed
                      by potential Digital Vendors under the task order. The Contractor shaJl work with all such
                      Digital Vendors to complete the CMS Privacy Questionnaire. The Contractor shall not use,
                      engage, or buy the services or products of any such Digital Vendor until the vendor has
                      completed the CMS Privacy Questionnaire and the Contracting Officer has approved the
                      Contractor's engagement of the Digital Vendor. The Contractor shall require any Digital
                      Vendor it engages (with the Contracting Officer's approval) to immediately submit a revised or
                      updated CMS Privacy Questionnaire upon any change in the Digital Vendor's responses to the
                      CMS Privacy Questionnaire or any change in the Digital Vendor's business practices, policies,
                      etc, that otherwise would affect the manner in which the Digital Vendor uses, discloses, stores,
                      or maintains consumer data to which it has access by vil1uc of its work in relation to this task
                      order. The Contractor shall provide daily written updates (via email to CMS), and two (2)
                      times a week written Digital Reports. The daily updates shall typically focus on the
                      performance of digital creative assets and suggestions to optimize the digital media buy plan as
                      appropriate. The Digital Repo11s shall include performance by platform, performance by

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                      partner, and performance by creative. For each type of platform (e.g., search, social, display)
                      the Digital Report shall include, but not be limited to; spend, impressions, clicks, click-
                      through-rate, cost per click, number of acquisition and cost per acquisition. The data shall be
                      reported by week and cumulatively. The data in the report shall be no more than 48 hours old.
                      For example, if the report is due on Friday, the data needs to be through Wednesday. The
                      Contractor shall provide updates to the media buy plans as directed by CMS.

               5. Earned Media Plan: The Contractor shaH provide an earned media plan for the Open
                  Enrollment Period and Special Enrollment Period as referenced in section TI.A. CMS will
                  review and approve the details of the plan, the recommended tactics, timeline and budget. The
                  Contractor shall provide the final approved earned media plan to CMS.

               6. Monthly Expendjture Report and Status Report: The Contractor shall provide to the COR and
                  Contract Specialist (CS) an monthly expenditure report and status report during the Period of
                  Petfom1ance (POP). The Expenditure Report shall include, but not be limited to:

                           •   Funding spent or obligated to date
                           •   Expected expenditures over the next 30 days
                           •   Funding remaining in task order
                           •   Correlation of activities to costs
                           •   Status of current activities and deliverables

               7. Final Matciials to be supplied to CMS for Archival Purposes: The Contractor shall provide to
                  the COR all finalized creative materials , including suppo1ting paperwork regarding usage
                  rights and contacts for renewing usage rights. Materials files include:
                        • Native graphic files and all supporting high-resolution artwork and fonts. Files shall
                            be Macintosh platform in InDesign, Adobe Photoshop, and Adobe Illustrator or other
                            software, ifrequested.
                        • Final creative materials that shall be made available electron icall y or viewed via
                            media broadcast shall be created within 508 compliance guidelines.

               8. Regular/Weekly Status Updates with CMS: The Contractor shall participate in weekly status
                      meetings/conference calls with CMS to repott progress on campaign pe1fonnance,
                      deliverables, tasks, and risk mitigation issues. The Regular/Weekly status calls will occur via
                      remote technology. The Contractor shall also provide a separate weekly Marketplace tracking
                      report, including digital and earned media. The Contractor shall be required to meet with CMS
                      staff vi1tually or in person throughout the period of perfotmancc on an "as needed" basis.

               9. Comprehensive Open Enrollment Period Project Completion Report with Recommendations
                  for Future Campaigns: The Contractor shall provide to the COR a comprehensive project
                  completion repmt that shall include "lessons learned" and recommendations for future
                  campaigns. This report shall include a comprehensive evaluation and assessment of the
                  effectiveness of the campaign. This evaluation will assess individual tactics to determine their
                  overall efficiency and impact on enrol lment


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                10. Comprehensive Special Enrollment Period Project Completion Report with Recommendations
                    for Future Campaigns: The Contractor shall provide to the COR a comprehensive project
                    completion report that shall include "lessons learned" and recommendations for future
                    campaigns. This report shall include a comprehensive evaluation and assessment of the
                    effectiveness of the campaign. This evaluation will assess individual tactics to determine their
                    overall efficiency and impact on enrollment.

                                       Schedule of Deliverab)es -Task 1 and Task 2
              Project
             Deliverable
              nu mber                  Deliverable Summary                              Timing
                   l           Kickoff Meeting                                Within 5 business days of award
                      2        Campaign Execution Plan & Timeline             ~ weeks from award
                      3        Creative Development, Production, and
                               Finalized Materials                             Ongoing
                      4        Draft Marketplace Paid                          6 weeks from award
                               Adve1tising/Media Buy Plans for Task 1
                               and Task 2
                      4        Final Marketplace Paid
                               Advertising/Media Buy Plans {Task 1)            8 weeks from award
                      4        Final Marketplace Paid
                               Adve1tising/Media Buy Plans (Task 2)            16 weeks from award
                      4        Digital Media Repo1ts                          2 times per week
                      4        Privacy Qu.estionnaire (TPW A)                 Single delivery per vendor/tool in
                                                                              advance of final media buy
                      5        Draft Earned Media Plan for Task I and         14 weeks from award
                               Task2
                      s        Final Earned Media Plan (Task 1)                6 weeks from award
                      s        Final Earned Medja Plan (Task 2)                l 2 weeks from award

                      6        Monthly Expenditure and Status Repons           J 5tn day following the end of the
                                                                               month
                      7        Final Ads/Materials to be suppLied to CMS for
                               Archival Purposes                             Ongoing
                      8        Regular/Weekly Status Updates, including      Weekly and as necessary-
                               weekly campaign performance updates, with Ongoing
                               CMS staff in Baltimore & D.C
                      8        Weekly Marketplace tracking reports,          Weekly-Ongoing
                               including digital and earned media
                      9        Comprehensive Open Enrollment Period          30 days after the end of
                               Project Completion Report with                Open Enrollment
                               Recommendations for Future Campaign
                      10       Comprehensive Special Enrollment Period       December I, 2022
                               Project Completion Report with
                               Recommendations for Future Campaign

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                                     Schedule of DeJiverabJes - Option Year 1
              Project
             Deliverable
              num ber              Deliverable Summary                            T inting
                      1    Kickoff Meeting                              Within 5 business days of award
                      2    Campaign Execution Plan & Timeiine           2 weeks from award
                      3    Creative Development, Production, and
                           Finalized Materials                          Ongoing
                      4    Draft Marketplace Paid                       6 weeks from award
                           Advertising/Media Buy Plans for Task 1
                           and Task 2
                      4    Final Marketplace Paid
                           Advertising/Media Buy Plans (Task 1)         8 weeks from award
                      4    Final Marketplace Paid
                           Advertising/Media Buy Plans (Task 2)         16 weeks from award
                      4    Digital Media Reports                        2 times per week
                      4    Privacy Questionnaire (TPW A)                Single deli very per vendot-/tool in
                                                                        advance of final media buy
                      5    Draft Earned Media Plan for Task 1 and       ~ weeks from award
                           Task 2
                      5    Final Earned Media Plan (Task l)             6 weeks from award
                      5    Final Earned Media Plan (Task 2)             12 weeks from award

                      6    Monthly Expenditure and Stah1s Repo11s       I 5m day following the end of the
                                                                        month
                      7    Final Ads/Materials to be supplied to CMS for
                           Archival Purposes                             Ongoing
                      8    Regular/Weekly Status Updates, including      Weekly and as necessary-
                           weekly campaign performance updates, with Ongoing
                           CMS staff in Baltimore & D.C
                      8    Weekly Marketplace tracking reports,          !Weekly-Ongoing
                           including_ digital and earned media
                      9    Comprehensive Open Enrollment Period          30 days after the end of
                           Project Completion Report with                Open Enrollment
                           Reconunendations for Future Campaign
                      10   Comprehensive Special Enrollment Period       December I, 2023
                           Project Completion Report wi1h
                           Recommendations for Future Campaign


                                     Schedule of Deliverables - Option Year 2
              Project
             Deliverable
              number              DeJiverable Summary                             T iming
                  1        Kickoff Meeting                              Within 5 business days of award
                  2        Campaign Execution Plan & Timcline           2 weeks from award




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                      3         Creative Development, Production, and
                                Finalized Materials                         Ongoing
                      4         Draft Marketplace Paid                      6 weeks from award
                                Advertising/Media Buy Plans for Task 1
                                and Task2
                      4         Final Marketplace Paid                      8 weeks from award
                                Advertising/Media Buy Plans (Task J)
                      4         Final Marketplace Paid
                                Advertising/Media Buy Plans (Task 2)         16 weeks from award
                      4         Digital Media Reports                       2 times per week
                      4         Privacy Questionnaire (TPWA)                Single delivery per vendor/tool in
                                                                            advance of final media buy
                      5        Draft Earned Media Plan for Task 1 and       14 weeks from award
                               Task2
                      5        Final Earned Media Plan (Task l)             6 weeks from award
                      5        Final Eamed Media Plan (Task 2)              I2 weeks from award

                      6        Monthly Expenditure and Status Reports       15m day following the end of the
                                                                            month
                      7        Final Ads/Materials to be supp lied to CMS for
                               Archival Purposes                              Ongoing
                      8        Regular/Weekly Status Updates, including       Weekly and as necessary-
                               weekly campaign performance updates, with Ongoing
                               CMS staff in Baltimore & D.C
                      8        Weekly Marketplace tracking repo1ts,           Weekly-Ongoing
                               including digital and earned media
                      9        Comprehensive Open Enrollment Period           30 days after the end of
                               Project Completion Report with                 Open Enrollment
                               Recommendations for Future Campaign
                      IO       Comprehensive Special Enrollment Period        December 1, 2024
                               Project Completion Report w ith
                               Recommendations for Future Campaign


                 C.        Optional Tasks: Enhanced Media Buy

         Optional Task 1:
         The primary focus of the optional task during the period of perfotmance will be to develop an enhanced
         media buy for Task 1 and/or Task 2. An enhanced media buy would serve to expand the media buy
         approved and increase media weights as appropriate given the availability of media inventory and costs.

         CMS will review and approve all changes related to the enhanced media buy.




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